Case 3:15-CV-00630-.]HI\/|-CHL Document 1-1

CT Corporation

To: Me Madich
Kel ett investments

Filed 07/24/15 Page 1 of 16 Page|D #: 5

Service of Process

Transmittal
06/25/2015
cr Log Number 527360326

200 Galleria Pkwy SE Ste 1800

Atlanta, GA 30339-5946

RE: Process Served in Kentucky

FOR: Bardstown Medical |nvestors, Ltd. (Domestic State: GA)

ENCL°SED ARE COP|ES OF LEGAL PRGCESS RECE|VED BY THE S‘I'ATU'|’OR¥r AGENT OF TI'lE ABOVE C°MFANY AS FDLLOWS:

TlTLE OF ACT|ON:

DOCUMEN‘|'(S) SERVED:

CDII RTIAGENCY:

NATURE OF ACT|ON:

UN WHOM PROCESS WAS SERVED:

DATE AND HDUR OF SERV|CE:
JUR|SDICT|ON SERVED :
AFPEARANCE OR ANSWER DUE:

ATI'ORNEY(S) f SENDER(S):

ACT|DN ITEMS:

SlGNED:
ADDRESS:

TELEPHONE:

Angela Hardin, Executrix of the Estate of Cecilia Joan Flahiff, Fltf. vs. Bardstown
Medical lnvestors, Ltd., etc., th.

Summons, Cor'nplaint

Nelson Court Circuit Court, KY
Case # 15C|00380

Medical injury - |mproper Care and Treatment - 07/02/2014 - Life Care Center of
Bardstown - 12 Life Care Way, Bardstown, KY 40004

C T Corporation System. Frankfort, KY

By Certified Mail on 06/25/2015 postmarked on 06/22/2015
Kentucky

Within 20 days following delivery

Jeffrey T. Sampson
The Sampson Law Firm
450 South Third Street
4th Floor

Louisville, KY 40202
502-584-5050

SOP Papers with Transmittal, via Fed Ex 2 Day , 780883140104

C T Corporation System
306 W. Main Street
Suite 512

Frankfort, KY 40601
717-234-6004

Pageiof1/TT

information displayed on this transmittal is for CT Corporation's
record keeping purposes only and is provided to the recipient for
quick reference This information does not constitute a legal
opinion as to the nature of action, the amount of damages, the
answer date, or any information contained in the documents
themselves Recipient is responsible for interpreting said
documents and for taking appropriate action. Signatures on
certified mail receipts confirm receipt of package only, not
contents

6 Page|D #: 6

|

 

-OO630-.]|-iI\/|-CHL Do_Cument 1-1 Filed 07/24/15 PageZoi

   

m 5 w
wm 20
v 32
ms 2a
m @1~
»; Om.
E. $3
mm ;4 w
U_., w n
P. . own
mr mem
EI¢ cn.Jh¢o¢-.

 

M£T:*mrs:M~E._….z=*.w.EE_LT~E_:MRR:LMM..L.M_~M r...lw\".l. w..l . m. "...". l".... ...

HOQO¢ >v_uDE/_mv_ c._.mOn_v_Z<mn_
NHm …_.:Dm commum z_<_>_ .>> mom
§w._.m>m zO_._.<mOn_mOu wu

 

mm»wm:owm E_momm zm:hm_m . ;i_l
am. mmmm mmrm .,_Q.rr n_n_mm. :_;r. . . .vooow §o:,_.zum .zao,_mnm<m
-.._ §Em E.z:oo zom.EZ com

150 mccann .E.zooO zom_EZ
__u .SE..LED am EDOEU 23qu

._""

§qu 5500 eSoEO

.\
..&¢,_loh.!. ls.m....s.. .?..

§§ QNE§U

_,‘_'_ °"""‘;"'_'.l_-- '*'_ “'_
._ _ . .
.\ . . `
. »
.
s

  
 

_.,.“ ZO.mmEOE,H cruzch ..
. .,._ .. ~ .

OmmOO-_U-mH

      
 
 

 

    

Case 3:15-cV-OO630-.]HI\/|-CHL Document 1-1 Filed 07/24/15 Page 3 of 16 Page|D #: 7

 

AOc-ios ooc. code ci case No. - ~ D
Rev. 'i-07 '
Pagei cri court l circuit l carrier

Commonweaith of Kentucky
Court of Juslice www.courts.ky.gov
CR 4.02; CR Officia| Form i ClvlL Sulvimons

 

County Ne|SOn

 

 

PLA|NT|FF

ANGE[_A HARD|N, EXECUT_R|X OF THE_ ESTATE OF CEClL_|A JOAN FLAH|FF

VS.

pEFENoANT
BARDSTOWN MEDICAL lNVESTORS, LTD. d/b/a L|FE CARE CENTER OF BARDSTOWN

120 L|FE C/_-\RE WAY

BARDSTOWN Kentucky 40004

Service of Process Agent for Defendant:
CT CORP_ORAT|ON SY_STEM

306 WEST MArN STREET
Sul'r_E 512
FRANKFORT keniuci<y 40601

THE COMNIONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

 

 

 

 

Vou are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. l.lniess a written defense is made by you or by an attorney on
your behalf within -20 days following the day this paper is delivered to youl judgment by default may be taken against you
for the relief demanded in the attached Comp|aint,

The name(s) and address(es) of the party or parties demanding relief against you are shown on the document
delivered to you with this Surnmons.

Dare: é€/SA ,2OI5 Dii’li/i€, \WFHUHO|/l clerk
; ali§i(. ‘

By o.c.

 

 

 

 

Proof of Service
This Summons was served by delivering a true copy and the Comp|aint (or other initiating document) to:

 

this day of _ , 2
Served by:

 

Tit|e

 

 

 

 

 

 

 

' '.

Case 3:15-cV-OO630-.]HI\/|-CHL Document 1-1 Filed 07/24/15 Page 4 of 16 Page|D #: 8

No. l'§ ’Cl ' ODZKD NELSON CIRCUIT coURT
DlvlsloN
ANGELA HARI)IN, EXECUTR;IX 0F
THE EsTATE 0F cECILIA JOAN FLAHIFF PLAINTIFF
COMPLAINT

BARDSTOWN MEDICAL INVESTORS, LTD.
d/b/a LIFE CARE CENTER OF BARDSTOWN DEFENDAN'I`

Serve: CT Corporation System
306 W. Main Street, Suite 512
Frankfort, Kentucky 4060]

Comes the Plaintiff, Angela Hardin, Executrix of the Estate of Cecilia loan Flahiff, and for
her cause of action against the Defendant states as follows:

l. Angela Hardin is the daughter of Ceeilia Flahiff and a resident of New Haven, Nelson
County, Kentucky,

2. Angela Hardin is the Executrix of the Estate of Ceclilia loan Flahiff, and therefore,
brings this action on her behalf A copy of the Order Appointing Executrixis attached hereto and
marked as Exhibit A.

3. Upon information and belief, Cecilia Flahiff was admitted as a resident of Life Care
Center of Bardstown located at 120 Life Care Way, Bardstown, Kentucky 40004 on January 2,
20]4. Cecilia Flahiff remained a resident there until she was transported to Flagei lviemorial
Hospital on July 2, 201 4, as a result of the injuries he sustained while a resident of Life Care Center
of Bardstown.

4. The Defendant, Bardstown Medical Investors, Ltd. d/b/a Life Care Center of

Bardstown is a foreign ULPA limited partnership organized under the'laws of Georgia authorized

to do business in the Commonwealth of Kentucky, with its principal office located at 1935 Garraux

Flled: ' l
D|ANE THOMPSON, Clerk

Neison ' ' &District Courts
By: §_l§£ . __Deputy Cierk

 

 

 

 

Case 3:15-cV-OO630-.]HI\/|-CHL Document 1-1 Filed 07/24/15 Page 5 of 16 Page|D #: 9

Road, Atlanta, Georgia 30327. Upon information and belief, at all times material to this action,
Defendant Bardstown Medicai Investors, Ltd. owned, operated, managed, controlled, and/or
provided services for Life Care Center of Bardstown in Bardstown, Nelson County, Kcntucky.
Upon information and belief, Defendant Bardstown Medical Investors, Ltd. Was, at all times
material to this action, the “licensee” of the nursing facility Under the laws and regulations
promulgated and enforced by the Cabinet for Health and Family Services, as licensee of the
facility, Bardstown Medical Investors, Ltd. Was legally responsible for that facility and for
ensuring compliance With all laws and regulations related to the operation of the facility The
causes of action made the basis of this suit arise out of such business conducted by said Defendant,
Bardstown Medical Investors, Ltd. in the ownership, operation, management1 control, licensing
and/or services provided for the facility during the residency of Cecilia Flahiff. 'l`he registered
agent for service of process of Bardstown Mcdical lnvestors, Ltd. d/b/a Life Care Center of
Bardstown is CT Corporation System, 306 West Main Street, Suite 512, Franl<fort, Kentucky
40601.

5. The Defendant controlled the operation, planning management budget and quality
control of Life Care Ccnter of Bardstown. The authority exercised by Dcfendant over the nursing
facility included, but was not limited to, control of marketing human resources managementl
training, staffing, creation, and implementation of all policies and procedures used by nursing
facilities in Kentucky, federal and state reimbursement, quality care assessment and compliance7
licensure and certification, legal services, and financial, tax and accounting control through fiscal
policies established by Defendant.

6. Jurisdiction and venue are proper in this Court.

 

 

Case 3:15-CV-OO630-.]HI\/|-CHL Document1-1 Filed 07/24/15 Page 6 of 16 Page|D #: 10

 

FACTUAL ALLEGATIONS
'/'. Cecilia Flahiff was a resident of Life Care Center of Bardstown from January 2,
2014 until July 2, 2014..
8. Cecilia Flahiff was looking to Defendant for treatment of her total needs for

custodial, nursing and medical care and not merely as a site where others not associated with the
facility would treat her.

9. At all relevant times mentioned herein, the Defendant owned, operated, managed
and/or controlled Life Care Center of Bardstown, either directly, through a joint enterprise,
partnership and/or through the agency of each other and/or other diverse subalterns, subsidiaries,
governing bodies, agents, servants or employees

10. Defendant is directly or vicariously liable for any acts and omissions by any person
or entity, controlled directly or indirectly, including any governing body, officer, employee,
ostensible or apparent agent, partner, consultant or independent contractor, whether in-house or
outside individuals, entities or agencies

ll. Defendant failed to discharge its obligation of care to Cecilia Flahiff with a
conscious disregard for her rights and safety At all times mentioned herein, Defendant, through
their corporate officers and administrators, had knowledge of, ratified and/or otherwise authorized
all of the acts and omissions that caused the injuries suffered by Cecilia Flahiff, as more fully set
forth below. Defendant knew that this facility could not provide the minimum standard of care to
the weak and vulnerable residents of Life Care Center of Bardstown.

. 12. Due to the wrongful conduct of Defendant, Cecilia Flahiff suffered accelerated
deterioration of her health and physical condition beyond that caused by the normal aging process,

as well as the following injuries:

 

 

Case 3:15-CV-OO630-.]HI\/|-CHL Document1-1 Filed 07/24/15

a) Skin breakdown;
b) Pressure ulcers;

c) Dehydration;

d) Loss of use of upper extremities;
e) Respiratory failure;

f) Urinary tract infections;

g) Pneurnonia;

h) lnjurious falls;

i) Hypoxemia;

j) Severe sepsis;

k) Cervical fracture; and
l) Death.
NEGLIGENCE

13. Plaintiff re-alleges and incorporates the allegations contained in Paragraphs l - 12
as if fully set forth herein.

l4. Defendant owed a non-delegable duty to Cecilia Flahiff to provide the custodial
care, services and supervision that a reasonably careful nursing home would provide under similar
circumstancesl

15. Upon information and belief, Defendant knowingly developed and maintained
staffing levels at the facility in disregard of patient acuity levels as well as the minimal time to
perform the essential functions of providing care to Cecilia Flahlff.

16. Defendant negligently failed to deliver care, services and supervision, including,

but not limited to, the following acts and omissions:

 

Page 7 of 16 Page|D #: 11

 

Case 3:15-cV-OO630-.]HI\/|-CHL Document1-1 Filed 07/24/15 Page 8 of 16 Page|D #: 12

a) Failure by the members of the governing body of the facility to discharge
their legal and lawful obligation by:

l) ensuring that the rules and regulations designed to protect the health
and safety of the residents, such as Cecilia Flahiff, as promulgated
by the Cabinet for Health' and Parnily Services, Division of Long

Term Care;

2) ensuring compliance with the resident care policies for the facility;
and

3) ensuring that appropriate corrective measures were implemented to

correct problems concerning inadequate resident care.

b) Failure to provide a facility that was sufficiently staffed with personnel that
was properly qualified and trained;

c) Failure to provide the minimum number of qualified personnel to meet the
total needs of Cecilia Flahiff;

d) Failure to maintain all records on Cecilia Flahiff in accordance with
accepted professional standards and practices:

e) Failure to ensure that Cecilia Flahiff received ad equate and proper nutrition,
fluids, supervision, therapeutic, and skin care;

t) Failure to increase the number of personnel at the facility to ensure that
Cecilia Flahiff received timely and appropriate custodial care, including,
but not limited to, bathing, grooming, incontinent care, personal attention
and care to her skin, feet, nails, and oral hygiene;

g) Failure to have in place adequate guidelines, policies and procedures of the
facility and to administer those policies through enforcement of any rules,
regulations, by-laws or guidelines;

h) Failure to take all necessary and reasonable custodial measures to prevent
the onset and progression of ' pressure sores during Cecilia Flahift‘s
residency;

i) Failure to monitor or increase the number of nursing personnel at the facility

to ensure that Cecilia Flahiff:
l) received timely and accurate care assessments;

2) received prescribed treatment, medication and diet; and

 

 

Case 3:15-cV-OO630-.]HI\/|-CHL Document1-1 Filed 07/24/15 Page 9 of 16 Page|D #: 13

3) received timely custodial, nursing and medical intervention due to a
significant change in condition

j) Failure to take reasonable steps to prevent, eliminate and correct
deficiencies and problems in resident care at the facility;

k) Failure to provide a safe environment for care, treatment and recovery, and
to exercise ordinary care and attention for the safety of Cecilia Flahiff in
proportion to her particular physical and mental ailments, known or
discoverable by the exercise of reasonable skill and diligence;

l) Failure to provide adequate hygiene and sanitary care to prevent infection;
and

m) F ailure to provide proper custodial care.

17. A reasonably careful nursing facility would not have failed to provide the care listed
above. lt was foreseeable that these breaches of ordinary care would result in serious injuries to
Cecilia Flahiff. With regard to each of the foregoing acts of negligence, Defendant acted with
oppression, fraud, malice or was grossly negligent by acting with wanton or reckless disregard for
the health and safety of Cecilia Flahiff.

18. Pursuant to KRS 446.0'/`0, Plaintiff also alleges Defendant violated statutory and
regulatory duties of care, the violations of which are actionable as negligence per se. Cecilia
Flahiff was injured by the statutory violations of Defendant and was within the class of persons
for Whose benefit the statutes were enacted and who was intended to be protected by these statutes
The negligence per se of Defendant included, but is not limited to, violation(s) of the following:

a) Violation(s) of KRS 209.005 et seq. and the regulations promulgated
thereunder, by abuse, neglect and/or exploitation of Cecilia Flahiff;

b) Violation(s) of KRS 508.090 et seq., criminal abuse, by committing
intentional, wanton or reckless abuse of Cecilia Flahiff, who was physically
helpless or mentally helpless or permitting Cecilia Flahiff, a person of
whom Defendant had actual custody, to be abused. Such abuse caused
serious physical injury, placed Cecilia Flahiff in a situation that might cause
her serious physical injury, and/or caused torture, cruel confinement or cruel
punishment of Cecilia Flahiff.

 

 

Case 3:15-cV-OO630-.]HI\/|-CHL Document 1-1 Filed 07/24/15 Page 10 of 16 Page|D #: 14

c) Violation(s) of K_RS 530.080 et seq., endangering the welfare of an
incompetent person, by knowingly acting in a manner which resulted in an
injury to the physical and/or mental welfare of Cecilia Flahiff, who was
unable to care for herself because of her illness;

d) violation(e) of i<;n`s soe.oso, criminal facilitation ar ciiiiiiiiii aa($), by
acting with knowledge that another person or entity was committing one or
more of the foregoing criminal acts or intending to commit one or more of
the foregoing criminal acts, and engaged in conduct which knowingly
provided another person or entity the means or opportunity for the
commission of such criminal act(s) and which in fact aided another person
or entity to commit the criminal act(s); and/or

e) Violation(s) of the statutory standards and requirements governing licensing
and operation of long-term care facilities as set forth by the Cabinet for
l-lealth and Pamily Services, pursuant to provisions of KRS Chapter 216
and the regulations promulgated thereunder, as well as the applicable
federal laws and regulations governing the certification of long-term care
facilities under Titles XVIII or XIX of the Social Security Act.

19. As a direct and proximate result of such grossly negligent, wanton or reckless
conduct, Cecilia Flahiff suffered the injuries described in Paragrapli 12. Plaintiff asserts a claim
for judgment for all compensatory and punitive damages against the Defendant including, but not
limited to, medical expenses, pain and suffering, mental anguish, disability, disfigurement and loss
of life, in an amount to be determined by the jury, but in excess of the minimum jurisdictional
limits of this Court and exceeding that required for federal court jurisdiction in diversity of
citizenship cases, plus costs and all other relief to which Plaintiff is entitled by law.

CGRPORATE NEGLIGENCE

20. Plaintiffre-alleges and incorporates the allegations contained in Paragraphs l ~ 19
as if fully set forth herein.

21. Cecilia Flahiff was looking to Defendant’s facility for treatment of her physical

ailments and not merely as the situs where others not associated with the facility would treat her

for her problemsl There is a presumption that the treatment Cecilia Flahiff received was being

 

 

Case 3:15-cV-OO630-.]HI\/|-CHL Document1-1 Filed 07/24/15 Page 11 of 16 Page|D #: 15

rendered through employees of Defendant and that any negligence associated with that treatment
would render Defendant responsible. Defendant or persons or entities under its control, or to the
extent Defendant was vicariously liable through the ostensible or apparent agency of others, owed
a non-delegable duty to residents, including Cecilia Flahiff, to use the degree and skill which is
expected of reasonably competent medical practitioners acting in the same or similar
circumstances

22. Defendant owed _a non-delegable duty to assist Cecilia Flahiff in attaining and
maintaining the highest level of physical, mental and psychological well-being

23. Defendant owed a duty to Cecilia Flahiff to maintain its facility; including
providing and maintaining medical equipment and supplies; and hiring, supervising and retaining
nurses and other staff employees

24. Defendant owed a duty to Cecilia Flahiff to have in place procedures and protocols
that properly care for residents and to administer these policies through enforcement of any rules,
regulations, by-laws or guidelines, which were adopted by Defendant to insure smoothly run
facilities and adequate resident care.

25. Defendant oweda duty to Cecilia Flahiff to provide a safe environrnent, treatment
and recovery, and to exercise ordinary care and attention for the safety of residents in proportion
to the physical and mental ailments of each particular resident, known or discoverable by the
exercise of reasonable skill and diligence. The duty of reasonable care and attention extended to
safeguarding Cecilia Flahiff from danger due to her inability to care for herself Defendant had a
duty to protect Cecilia Flahiff from any danger which the surroundings would indicate might befall
her in view of any peculiar trait exhibited by her or which her mental condition or aberration would

suggest as likely to happen

Case 3:15-cV-OO630-.]HI\/|-CHL Document1-1 Filed 07/24/15 Page 12 of 16 Page|D #: 16

26. With regard to each of the foregoing acts of negligence, Defendant acted with
oppression, fraud, malice, or was grossly negligent by acting with wanton or reckless disregard for
the health and safety of Cecilia Flahiff. _

27. As a direct and proximate result of such oppression, fraud, malice, or gross
negligence, Cecilia Flahiff suffered the injuries described herein. Plaintiff asserts a claim for
judgment for all compensatory and punitive damages against Defendant including, but not limited
to, medical expenses, pain and suffering, mental anguish, disfigurement, hospitalization and
unnecessary loss of personal dignity, in an amount to be determined by the jury, but in excess of
the minimum jurisdictional limits of this Court and exceeding that required for federal court
jurisdiction in diversity of citizenship cases, plus costs and all other relief to which Plaintiff is
entitled by law.

VIOLATIONS OF LONG TERM CARE RESIDENT’S RIGHTS

28. Plaintiff re-alleges and incorporates the allegations contained in Paragraphs l - 27
as if fully set forth herein.

29. Defendant violated statutory duties owed to Cecilia Flahiff as a resident of a long
term care facility, Kentucky Revised Statutes 216.5]0 et seq. These statutory duties were non-
delegable.

30. The violations of the resident’s rights of Cecilia Flahiff include:

a) Violation of the right to be treated with consideration, respect, and full
recognition of hus dignity and individuality;

b) Violation of the right to have a responsible party or family member or her
guardian notified immediately of =any accident, sudden illness, disease,
unexplained absence, or anything unusual involving the resident;

c) Violation of the right to have an adequate and appropriate resident care plan
developed, implemented and updated to meet her needs;

Case 3:15-cV-OO630-.]HI\/|-CHL Document1-1 Filed 07/24/15 Page 13 of 16 Page|D #: 17

d) Violation of the right to be free from abuse and neglect; and

e) Violation of the statutory standards and requirements governing licensing
and operation of long-term care facilities as set forth by the Cabinet for
Health and Family Services, pursuant to provisions of K.R.S. Chapter 216
and the regulations promulgated thereunder, as well as the applicable
federal laws and regulations governing the certification of long-tenn care
facilities under Titles XVIII or XIX of the Social Security Act.

31. As a result of the aforementioned violations of the Resident’s Rights Statutes by
Defendants, pursuant to K.R.S. § 216.515(26), Plaintiff is entitled to recover actual damages in an
amount to be determined by the jury, but in excess of the minimum jurisdictional limits of this
Court and exceeding that required for federal court jurisdiction in diversity of citizenship cases, as
well _as costs and attomey’s fees.

32. With regard to the aforementioned violations of the Resident’s Rights Act,
Defendant acted with oppression, fraud, malice, or were grossly negligent by acting with wanton
and reckless disregard for the rights of Cecilia Flahiff and, pursuant to K.R.S. § 216.515(26),
Plainti ff is entitled to punitive damages from Defendant in an amount to be determined by the jury,
but in excess of the minimum jurisdictional limits of this Court and exceeding that required for
federal court jurisdiction in diversity of citizenship cases, as well as costs and attorney’s fees.

DAMAGES

33. Plaintiff re-alleges and incorporates the allegations contained in Paragraphs l - 32
a_, if nilly set forth herein

34. As a direct and proximate result of the negligence of the Defendant as set out above,
Cecilia Flahiff suffered injuries including, but not limited to, those listed herein As a result,
Cecilia Flahiff suffered embarrassment, physical impainnent, and great pain and suffering, both

physical and mental

35` Plaintiff seeks punitive and compensatory damages against the Defendant in an

" Case 3:15-cV-OO630-.]HI\/|-CHL Document 1-1 Filed 07/24/15 Page 14 of 16 Page|D #: 18
amount to be determined by the jury, plus costs and all other relief to which Plaintiff is entitled by
law.

REOUEST FOR RELIEF
WHEREFORE, Plaintiff Angela Hardin, Executrix of the Estate of Cecilia Flahiff,
prays for judginth against Defendant in an amount to be determined from the evidence, the costs
herein expended, and all other relief to which Plaintiff is entitled, including TRIAL BY JURY.
Respectfully submitted,
M
, ,/
- /
(/leffié’y T. psorif v “ `
THE SAMPSON LAW FIRM
450 south Third Sireei, 4“1 Floor
Louisville, Kentucky 40202
Telephone: (502) 584-5050

Attorney for Plaintiff

Case 3:15-cV-OO630-.]HI\/|-CHL Document 1-1 Filed 07/24/15 Page 15 of 16 Page|D #: 19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

From: [214) 932-3601 Origin |D: KlPA Ship Dale'. 25JUN15
Beatrice Casarez-Barrienlez s ACtht: 1.0 LB
CT - Da|las SOP Team EXPiess CAD: 104579860!W5Xi2800
t999 Bryan Street
Suite 900 Delivery Address Bar Code
Da|las, TX 75201
J151215022303uv
SHlp TO: cm.]) 563_3208 B|LL SENDEH Hef ll SOPH 403403/527360326}Bea1rice Casa
Meg Madich indicia
Ke||ett |nvestments §§pt#
200 Ga||eria Pkwy SE Ste 1800
At|anta, GA 30339
N|ON - 29 JUN AA
** zoAY **
THK“ 7808 8314 0104
l l § |*ll
t 30339
" SH T|V|AA
l
, - ATL

   

 

l||l||l|l|l|||||l|||ll|ll|||lllll|l||l||ll|l||||

537J1BAUEJEEAB

Case 3:15-cV-OO630-.]HI\/|-CHL Document1-1 Filed 07/24/15 Page 16 of 16 Page|D #: 20

 

.Ei_ .m._o~mm>c_ "mumum_>_ c._so~mEmm_ emmoo_Om_‘

_`

 

ono_m>.._m_
N_ii.-mmm.o.`..a. H xmn_ momm-mmm-od. H ococn_
Eoo.>c_nm=ov_©moc._ U =mEm_
comp cum mm >>>V_n_ m_._o__mO cow n wmo._ue<
B_.._oc._~wo>c_ zo__ox H `_oEo~w:O
.. Hm. a

 

_>_n_ moves m_.om__mm_©o
~m>mmmcor_P ._._._B.

vo_.o:mmmowh

©Nmoomhwm

 

n nwa-aim mEuu_
" um>._. wmmxumm

" ¢:omamuv¢

n :O twu-wth

" am venan

" § m:mv_um»._. xmno"_

 

conEoSou no

 

a=m mcmanus ._.o

